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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF KENTUCKY
                                       LONDON DIVISION

In re:

AMERICORE HOLDINGS, LLC, et al.1                                                CASE NO. 19-61608

         Debtors.
                                                     /

ST. ALEXIUS HOSPITAL CORPORATION #1,

         Plaintiff,

v.                                                                              ADV. NO. 20-6005

JOVITA CARRANZA, in her capacity as
Administrator for the U.S. Small Business
Administration,

         Defendant.
                                                     /

      NOTICE OF WITHDRAWAL OF EMERGENCY MOTION FOR TEMPORARY
     RESTRAINING ORDER AND REQUEST FOR HEARING DATE AND BRIEFING
         SCHEDULE WITH RESPECT TO THE DEBTOR’S REQUEST FOR A
                   PRELIMNARY INJUNCTION (DOC. NO. 2)

         St. Alexius Hospital Corporation #1 (“St. Alexius”), as plaintiff herein, and as a debtor in

the Chapter 11 cases being jointly administered under the lead case of In re Americore Holdings,

LLC, by and through Carol L. Fox, the Chapter 11 Trustee (“Ms. Fox” or “Trustee”), hereby gives

notice of withdrawal of the EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER

AND REQUEST FOR HEARING DATE AND BRIEFING SCHEDULE WITH RESPECT TO THE

DEBTOR’S REQUEST FOR A PRELIMNARY INJUNCTION (the “Preliminary Injunction




1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises, LLC
(3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood Medical
Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC(3388);
Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital Corporation #1
(2766).
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Motion”) that was filed with this Court on May 6, 2020, as Docket Entry No. 2, and respectfully

states as follows:

        1.         On May 8, 2020, the Court entered an order granting Plaintiff’s request for a

Temporary Restraining Order (Doc. No. 13) (“TRO”). The Order expires by its terms on Friday,

May 22, 2020.

        2.         Last evening, May 19, 2020, the Trustee received notice that St. Alexius’s PPP

application was approved. Moments before filing the instant notice, the Trustee received

confirmation that the PPP funds were received into a segregated Debtor In Possession account at

East West Bank.

        3.         As such, the Defendant has complied with the terms of the TRO, rendering the

Preliminary Injunction Motion (Doc. No. 2) moot.

        Respectfully submitted this 20th day of May 2020.


                                                         s/ Tiffany Payne Geyer
                                                         TIFFANY PAYNE GEYER (admitted pro hac vice)
                                                         Florida Bar No. 421448
                                                         BAKER & HOSTETLER LLP
                                                         200 South Orange Avenue, Suite 2300
                                                         Orlando, Florida 32801
                                                         Telephone 407-649-4000
                                                         Facsimile 407-841-0168
                                                         tpaynegeyer@bakerlaw.com
                                                         Counsel to Chapter 11 Trustee


                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 20, 2020, I electronically filed the foregoing with the

Clerk of Court by using the Court’s CM/ECF system, which will provide a Notice of Electronic

Filing and copy to all parties requesting such notice.


                                                         s/ Tiffany Payne Geyer
                                                         TIFFANY PAYNE GEYER
4811-6177-5293.5



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